Case 2:04-cr-20400-BBD Document 39 Filed 05/12/05 Page 1 of 2 Page|D 44

1N THE UNITED sTATES DISTRICT COURT
FoR THE WESTERN DISTRICT 0F TENNESSEE
WESTERN DIVISION FlLED lN OPEN COUF*T

 

 

 

UNITED STATES OF AMERICA, ) DATE: 5 _ \1_ 100 3
Plaimiff, § -HME: O\l ‘\ (Q w
V- l Case No. 04-20400-13‘N1T!ALS:-H__'
CLYDE ARMSTEAD, §
Defendant. §
0RDER

 

The United Statcs Marshal is hereby directed t0 permit David Milken, a pretrial detainee, to

appear in civilian clothing as a Witncss in the trial of United States v. Clvde Annstead.

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IT ls so 0RDERED this /pZ day Of May, 2005.

 

RNICE\ B. ONALD
UNITED STATES DISTRICT COURT

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Notice of Distribution

This notice confirms a copy of the document docketed as number 39 in
case 2:04-CR-20400 Was distributed by faX, mail, or direct printing on
May 16, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

